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STEPHEN R. HARRIS, ESQ.
Nevada Bar No. 001463

 

 

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Telephone: (775) 786-7600
E-Mail: steve@harrislawreno.com
Attorneys for Jointly Administered Debtors
UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEVADA
OK eK A
Case No. 21-14978-abl
IN RE: (Chapter 11)
SILVER STATE BROADCASTING, LLC _ Jointly Administered with:
[_] AFFECTS THIS DEBTOR. 21-14979-abl Golden State Broadcasting, LLC
21-14980-abl Major Market Radio LLC
[-] AFFECTS GOLDEN STATE
BROADCASTING, LLC
Hearing Date: TBD
[_] AFFECTS MAJOR MARKET RADIO Hearing Time: TBD
LLC earing Time:
[<] AFFECTS ALL DEBTORS.
/
DEBTORS’ DISCLOSURE STATEMENT
Dated: May 2, 2022
Filed by: STEPHEN R. HARRIS, ESQ.
HARRIS LAW PRACTICE LLC
6151 Lakeside Drive, Suite 2100
Reno, Nevada 89511
Telephone: (775) 786-7600
Attomey for Jointly Administered Debtors

 

 
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I. INTRODUCTION

SILVER STATE BROADCASTING, LLC, GOLDEN STATE BROADCASTING, LLC,
and MAJOR MARKET RADIO LLC, Jointly Administered Debtors and Debtors-in-Possession
herein ("Debtors") in the above-captioned Chapter 11 cases, provide herewith the information
contained in this DEBTORS’ DISCLOSURE STATEMENT ("DISCLOSURE STATEMENT")
to all known creditors and other parties in interest of the Debtors in order to disclose that
information deemed material, important, and necessary to the creditors to arrive at a reasonably
informed decision in exercising their rights to vote for acceptance of the Plan of Reorganization.

Together with this DEBTORS’ DISCLOSURE STATEMENT, each creditor should also
have received a copy of the DEBTORS’ PLAN OF REORGANIZATION (“PLAN”), a form
Ballot on which creditors and other parties in interest who are entitled to vote may cast their
respective votes, and a copy of the ORDER APPROVING DEBTORS’ DISCLOSURE
STATEMENT which indicates that the Bankruptcy Court has approved this DEBTORS’
DISCLOSURE STATEMENT for circulation to creditors in that it contains information of a kind
and of sufficient detail, as far as its reasonably practicable, to enable creditors and other parties
in interest to make an informed decision about the PLAN. As indicated in the Instructions
accompanying the Ballot, which is the form on which you may cast your vote to accept or reject
the PLAN, the Ballot must be mailed to Debtors’ counsel in time to ensure that your Ballot will
be received by the due date. Ballots received after the due date may not be counted.

You are urged to carefully read this DEBTORS’ DISCLOSURE STATEMENT and the
DEBTORS’ PLAN OF REORGANIZATION before deciding to accept or reject the PLAN.
Particular attention should be directed to the provisions of the PLAN affecting your rights as well
as the Liquidation Analysis which describes the results which would be obtained in the event the
Debtors’ business is discontinued and its assets liquidated.

Il. THE CHAPTER 11 CONFIRMATION PROCESS

The Chapter 11 confirmation process is governed, in large part, by the Bankruptcy Code.

Under the Bankruptcy Code, to be confirmed, the DEBTORS’ PLAN OF REORGANIZATION

must be accepted by at least one (1) Class of Creditors whose claims against the Debtors will be

 

 
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"impaired" under the PLAN. Claimants who are scheduled to receive full payment on their
Claims without modification or changes to their right to payment are deemed to have accepted
the PLAN and do not vote. Only Creditors whose Claims are "impaired" or their right to payment
terms is modified or changed are entitled to vote in favor of accepting or rejecting the PLAN. A
Class of claims is "impaired" if the amount to be paid to the Class provides the Claimants in that
Class with less than full payment of the Allowed Claims in that Class or the terms for repayment
are extended beyond the contractual due date or some other contractual terms are changed.
Acceptance by such Class requires that at least one-half of the Creditors in the Class who cast
accepting votes on the PLAN and hold at least two-thirds of the total dollar amount of the Claims
in that Class casting votes on the PLAN.
I. DISCLAIMER

NO REPRESENTATIONS CONCERNING THE DEBTORS, THEIR FUTURE
BUSINESS OPERATIONS OR VALUE OF PROPERTY, ARE AUTHORIZED BY THE
DEBTORS, OTHER THAN AS SET FORTH IN THIS STATEMENT. ANY
REPRESENTATIONS OR INDUCEMENTS MADE TO SECURE ACCEPTANCE OF
THE PLAN OF REORGANIZATION WHICH ARE NOT CONTAINED HEREIN OR IN
THE PLAN OF REORGANIZATION SHOULD NOT BE RELIED ON BY ANY
CREDITOR OR OTHER PARTY IN INTEREST. ALTHOUGH THE FINANCIAL
INFORMATION CONTAINED HEREIN IS BELIEVED TO BE ACCURATE, IT HAS
NOT BEEN SUBJECTED TO ANY CERTIFIED AUDIT AND IS NOT WARRANTED
OR REPRESENTED TO BE ERROR FREE.

IV. DEBTORS’ HISTORY
On October 19, 2021, Silver State Broadcasting, LLC (“Silver State”), Golden

State Broadcasting, LLC (“Golden State”), and Major Market Radio LLC (“Major Market”)
(collectively “Debtors”) filed their Chapter 11 voluntary petitions as Case Nos. 21-14978-abl, 21-
14979-abl, and 21-14980-abl, respectively.

Each of the Debtors is an independent radio broadcasting company. Silver State owns the

FCC licenses for FM radio station KFRH N. Las Vegas, Nevada, AM radio station KBET,

 

 
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Winchester, Nevada and associated local translator facilities, while Debtor Major Market owns
the FCC licenses for FM radio station KRCK-FM, licensed to Mecca, California and two
associated FM translator stations licensed to Palm Desert, California. Debtor Golden State is the
licensee of FM broadcast station KREV, Alameda, California. Most of the value in the
bankruptcy estates consists of the FCC licenses for foregoing radio broadcast stations
(collectively the “Radio Station Group”). Three of the radio stations (AFRH, KREV and KRCK-
FM, the “Radio Stations”) are the Debtors’ primary assets. They were the subject of a
receivership action in the District Court! commencing July of 2020. At that time, pursuant to an
order of the District Court and the ensuing grant by the FCC of a set of “short form” assignment
applications, the licenses for the core Radio Stations were assigned to Receiver W. Lawrence
Patrick (“Receiver”).

Prior to the Receiver’s control, the Radio Stations broadcast regular programming and
generated revenues of approximately $80,000 per month. After the Receiver took control, he
dismantled the Radio Stations’ programming, sales, marketing, streaming, websites, email
accounts, and technical and engineering operations, and allowed them to be managed by VCY
under an LMA for the egregiously low price of $5,000 per month for all three Core Radio Stations.
VCY instantly supplanted decades of the Radio Stations’ history, ratings, audiences, and revenues
stemming from mass-appeal, commercial, community-based popular music formats by a non-
commercial 24-hour financial solicitation, non-profit gospel format. The Receiver’s actions
damaged the Debtors’ long-standing sales and marketing agreements and programming
relationships. The Receiver also ignored the Radio Stations’ existing financial obligations during
his tenure, such as utilities, payroll, and lease rents, even though he had taken control of the Radio
Station assets and revenues.

The Debtors filed their Chapter 11 cases on October 19, 2021, because the Receiver was
irreparably damaging their Radio Stations and seeking to unnecessarily sell the Radio Stations to

VCY for far less than their market value.

 

1 United States District Court Central District of California, Case No. 5:16-cv-00600-JGB, WB Music
Corp., et al. v. Royce International Broadcasting Corp., Playa Del Sol Broadcasters, Silver State
Broadcasting, LLC, Golden State Broadcasting, LLC, and Edward R. Stolz, I

 

 
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After the bankruptcy filings, the Receiver refused to voluntarily turn over the Debtors’
assets causing the Debtors to file their Emergency Joint Motion for Order Directing Court
Appointed Receiver to Turnover Property Pursuant to 11 U.S.C. § 543(a) and (b) (DE 30)
(“Turnover Motion”). In turn, the Receiver filed his Emergency Motion to Excuse Turnover in
Favor of Receiver and to Dismiss/Abstain, or, Alternatively, for Stay Relief and/or Conversion
(DE 45) (“Excuse Motion”). The Debtors’ Turnover Motion and the Receiver’s Excuse Motion
were both set for hearing on December 20, 2021, pursuant to an order of the Court. After hearing
oral argument, the Honorable Judge Landis continued the hearings to January 31, 2022, at 1:30
p.m., to enter his oral ruling. On February 7, 2022, this Court entered its Order Granting Debtor’s
Emergency Motion for Turnover (DE 115) (“Turnover Order”) and its Order Denying Receiver’s
Emergency Motion to Excuse Turnover (DE 116). Pursuant to the Turnover Order, the deadline
for the Receiver to prepare, sign, and file with this Court an accounting of any property of the
Debtors, or proceeds, product, offspring, rents, or profits of such property that, at any time came
into the possession, custody, or control of the Receiver (the “Accounting”), was April 8, 2022
(the “Accounting Deadline”).

V. DESCRIPTION AND VALUATION OF ASSETS

The Debtors’ known personal property assets (there are no real property assets) which

existed on the Petition Date, are generally described as follows:

Silver State Broadcasting, LLC:

Description Est. Market Value
Radio licenses for K276GW (translator), KFRH FM

(full service), and KBET AM (full service) $20,000,000
Potential malpractice claims in excess of $50,000 against Jeffrey J.

Whitehead, Esq. $ Unknown
Potential malpractice claims against Dariush G. Adli, Esq. $ 6,000,000

Claims for breach of fiduciary duty and other possible
Causes of action against W. Lawrence Patrick $ 6,000,000
Golden State Broadcasting, LLC:

 

 
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1 Description Est. Market Value
2 Security deposit with Executive Park Properties, LLC $ 16,000
3 Radio license for KREV FM (full service) $15,000,000
4 Potential malpractice claims against Dariush G. Adli, Esq. $ 6,000,000
5 Claims for breach of fiduciary duty and other possible
6 Causes of action against W. Lawrence Patrick $ 6,000,000
7 Major Market Radio LLC:
8 Description Est. Market Value
9 Security deposit with Suresh Shah Unknown
10 Radio license for KRCK-FM (full service), K238AK
11 (translator), and K251BX (translator) $ 5,000,000
12 Potential malpractice claims against Dariush G. Adli, Esq. $ 6,000,000
13 Claims for breach of fiduciary duty and other possible
14 Causes of action against W. Lawrence Patrick $ 6,000,000
15 VI. SIGNIFICANT POST-PETITION EVENTS
16 The following significant events have occurred post-petition:
17 The Debtors obtained Court approval to employ Harris Law Practice LLC as their general

1g || bankruptcy counsel. See DE 114. On November 19, 2021, this Court entered in each case an
19 || Order Authorizing Joint Administration of Cases, jointly administering Silver State, Golden State,
29 || and Major Market, and designating Silver State, as the lead case (Case No. 21-14978).

21 As indicated previously, the Court also granted the Debtors’ Turnover Motion requiring
77 || the Receiver to immediately turn over to the Debtors all of their assets and file an Accounting
93 || with the Court by April 8, 2022.

24 The Receiver has done very little to comply with his duties under the Turnover Order.
25 || Debtors’ counsel filed applications with the FCC seeking assignment of their licenses to the
26 || Debtors (FCC Licensing Management System File Nos. 0000130807, 00001308 and
97 || 0000130810). The FCC granted the applications, and the licenses are once again in the Debtors’

4g ||names. The Receiver also delivered to Debtors’ counsel a check made payable to “Royce

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International” in the sum of $1,418.64. But the Receiver failed to inventory and turn over all of
the remaining Radio Station equipment which was located at the Debtors’ leasehold premises
when the Receiver took control of the Radio Stations. The Receiver has additionally refused to
account for damage and destruction of broadcast equipment or theft of broadcast equipment,
which was used by the Radio Stations prior to the Receiver’s control but was damaged or
dissipated during the Receiver’s period of control. Further, the Receiver has failed to return keys
to the Debtors for the premises and for a vehicle, incapacitating it. None of the Debtors’
documents, computer files, passwords, email accounts, streaming broadcasts, or other intangibles
have been returned. After numerous requests, the Receiver only responds that he “believes”
equipment should be at various locations, or he claims he never took possession even though he
fought the Debtors tooth-and-nail in the District Court to obtain control of the Radio Stations, not
just the FCC licenses. Indeed, District Court documents which the Receiver has filed in this
Chapter 11 case show that the Debtors and Mr. Stolz complied with providing the Receiver with
keys, passwords, leasehold information, documents, and other information.

Additionally, on March 11, 2022, the Receiver filed his accounting [DE 141], but it does
not comply with the specific requirements for an Accounting set forth in the Turnover Order. For
example, the Accounting is supposed to be itemized by each Debtor, for each month of the
receivership, and disclose at a minimum all the information contained in the standard U.S.
Trustee’s general Monthly Operating Report forms. Yet the Receiver’s purported accounting fails
to contain any information about the Debtors’ assets in his control on a month-to-month basis,
accrued Radio Station liabilities on a month-to-month basis, nor is there a separate accounting for
each Debtor. In light of the Receiver’s failure to comply with the Turnover Order, the Debtors
will have to file a motion for order to show cause as to why he should not be held in contempt for
failing to comply with the Turnover Order.

Because of the inadequacy of the Receiver’s purported accounting, the Debtors have also
filed a motion seeking to take the Rule 2004 examination of the Receiver to obtain additional
information about the Debtors’ financial condition during the receivership. The Rule 2004

examination is scheduled for May 19, 2022, at 10:30 a.m. After the Debtors obtain more details

 

 
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about their assets and financial condition during the pre-petition receivership period, they may
amend this Disclosure Statement as may be necessary.

The Debtor will also be filing an application to employ special FCC counsel, Wood &
Maines, PC, as well as any other special litigation counsel or accountants as may be necessary to
carry out the administration of these cases.

VIL. ADMINISTRATIVE AND UNCLASSIFIED CLAIMS
ADMINISTRATIVE CLAIMS:

All costs and expenses of administration in this case, including any actual and necessary
expenses of preserving or liquidating the assets of the Debtors’ estate, all allowances, including
professional fees and costs, approved by the Court, and any other costs and expenses entitled to
priority pursuant to 11 U.S.C. § 507(a)(1) of the Bankruptcy Code and 28 U.S.C. § 1930, shall be
paid in full on or before the Effective Date of the Plan. The holders of these claims include the
attorneys and accountants for the Debtors, unpaid post-petition accounts payable (if any), and all
fees to be paid to the Office of the United States Trustee. The estimated administrative expenses
for the Debtors’ reorganization proceeding are collectively $760,000 to $1,230,000, and consist

of the following:

$0.00 Trustees fees that are owed the U.S. Trustee's Office for the
applicable quarters of 2021 and 2022 prior the Confirmation Date
{payment is anticipated to be made when due];

$100,000 Estimated unpaid professional fees for the Debtors’ general bankruptcy
to $250,000 attorney, Stephen R. Harris, Esq., of Harris Law Practice LLC, calculated
per Debtor as of the Confirmation Date;

$80,000 to —_ Estimated professional fees for the Debtors’ special FCC counsel, Wood
$ 100,000 & Maines, PC, calculated as of the Confirmation Date;

$380,000 Estimated administrative claims of Edward Stolz and Royce International
Broadcasting for post-petition loans made to Debtors in the ordinary
course of business under 11 U.S.C. § 364(a) calculated as of the
Confirmation Date; and

$0.00 Post-petition accounts payable with [all post-petition
administrative expenses are expected to be paid in full in the
normal course of business prior to the Confirmation Date].

 

 
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5 Professional fees, both legal and accounting, shall continue to accrue up through and subsequent

3 to the Confirmation Date, with final amounts owing subject to Court approval.

4 UNCLASSIFIED PRIORITY CLAIMS:

5 1. Description. The Debtors’ priority claims are as follows:

6 Name Scheduled Proof of Claim Allowed

7 Amount Amount Priority
Amount

8

9

Pursuant to the Debtors’ Plan, the treatment and disposition of the unclassified priority claims,

10 now totaling $0, will be as follows: Any claim discrepancy will be resolved by the claim objection
i process, with the stipulated amount and/or Court decreed amount owing used to calculate that
12

particular creditors’ allowed claim being paid by the Debtors. All unclassified priority creditors
13 | shall be paid 100% of their allowed claim amount, with statutory interest thereon, over a one (1)
14 year time period commencing on the Effective Date of the Plan. The payments shall be made
15 monthly, equally amortized over twelve (12) months, with statutory interest accrued thereon, but
16 |) without any penalties. At the option of the Debtors, any allowed priority claims may be paid ona
17 || shortened time schedule from the one (1) year described hereinabove. In the event the Debtors
18 |] fail to make the payments as set forth hereinabove, the allowed priority creditors, if any, shall

19 || have the right to proceed with any administrative remedies available to them, fifteen (15) days

20 || after written notice of default has been given to the Debtors and their attorney, Stephen R. Harris,

 

21 Esq.
22 VIIL. CLASSIFICATION OF CLAIMS AND INTERESTS
23 Pursuant to Section 1122 of the Bankruptcy Code, claims against the estate have been

24 || divided into the following classifications for purposes of administration and voting on the Plan:
25 1. CLASS 1. CLAIM [BELLAIRE TOWERS — HOMEOWNERS
26 || ASSOCIATION]: This Class consists of the allowed secured claim of Bellaire Towers

27 || Homeowners Association in the amount of $364,003.32 as of February 7, 2022, arising from a
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Secretary of State on November 21, 2014.

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judgment entered against Golden State on July 22, 2014, and recorded with the California

2. CLASS 2A CLAIMS [DISPUTED UNSECURED CLAIMS AGAINST ALL

The Class 2A Claims, calculated as of the Petition Date, are detailed as follows:

DEBTORS]: This class consists of disputed unsecured claims collectively against all three

Debtors to the extent such disputed unsecured claims may be proven and allowed by the Court.

 

 

 

 

 

Creditor Claims: Scheduled Proof of Allowed
Amount Claim Amount
Amount
W. Lawrence Patrick $0.00 | $1,248,348.09 $0.00
VCY America, Inc. $0.00 $255,467.99 $0.00
Total $0.00 | $1,503,816.08 $0.00

 

 

 

 

3. CLASS 2B CLAIMS [DISPUTED UNSECURED CLAIMS AGAINST

2B Claims, calculated as of the Petition Date, are detailed as follows:

ONLY SILVER STATE]: This class consists of disputed unsecured claims against Silver State

to the extent such disputed unsecured claims may be proven and allowed by the Court. The Class

 

 

 

 

 

 

 

 

 

Creditor Claims: Scheduled Proof of Allowed
Amount Claim Amount
Amount

Dan Alpert $0.00 $29,102.50 $0.00
Crown Cast MU LLC $0.00 | $1,227,872.98 $0.00
DIG MCC, LLC* $0.00 $69,570.22 $0.00
Peter A. Jackson $0.00 $10,075.09 $0.00
Naylor & Braster $0.00 $18,304.20 $0.00
Whitehead & Burnett $0.00 $1,000,000 $0.00
Total $0.00 | $2,354,924.99 $0.00

 

 

 

 

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1 || *This Proof of Claim was resolved by Stipulation between the parties. See DE 143.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2 4. CLASS 2C CLAIMS [DISPUTED UNSECURED CLAIMS AGAINST
3 || SILVER STATE AND GOLDEN STATE]: This class consists of disputed unsecured claims
4 || collectively against Silver State and Golden State to the extent such disputed unsecured claims
5 || may be proven and allowed by the Court. The Class 2C Claims, calculated as of the Petition Date,
6 || are detailed as follows:
7
Creditor Claims: Scheduled Proof of Allowed
8 Amount Claim Amount
9 Amount
10 Mincin Law, PLLC $0.00 $37,644.73 $0.00
11
2 Total $0.00 $37,644.73 $0.00
13
14 3. CLASS 3 EQUITY INTERESTS OF DEBTORS: This Class 3 consists of the
15 shareholder’s equity interests in the Debtors specifically: Royce International Broadcasting, Inc.
16 {48 to a 100% stock ownership interest in each Debtor.
W7 IX. TREATMENT OF CLASSES
18 1. CLASS 1 CLAIMS [BELLAIRE TOWERS HOMEOWNERS ASSOCIATION:
19 The Class 1 Allowed claim in the total amount of $364,003.32, calculated as of the Petition Date,
20 shall be paid in full, with statutory judgment interest, by Golden State on or before the Effective
a1 Date of the Plan. Accordingly, the Class 1 Allowed claim is unimpaired under the PLAN.
79 2. CLASS 2A CLAIMS [DISPUTED UNSECURED CLAIMS AGAINST ALL
73 DEBTORS]: The Class 2A Disputed Unsecured Claims, estimated in the total amount of $0.00
DA shall be resolved through the formal claim objection process or by agreement of the parties. Any
95 allowed claims that result shall be paid in full by all three Debtors equally on the later of the
26 Effective Date, or within five business days after any order allowing the claims becomes final and
7 unappealable. Accordingly, the Class 2A Allowed claims are unimpaired under the PLAN.
38 3. CLASS 2B CLAIMS [DISPUTED UNSECURED CLAIMS AGAINST

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1 ||} ONLY SILVER STATE]: The Class 2B Disputed Unsecured Claims, estimated in the total
2 || amount of $0.00 shall be resolved through the formal claim objection process or by agreement of
3 || the parties. Any allowed claims that result shall be paid in full by Silver State on the later of the
4 || Effective Date, or within five business days after any order allowing the claims becomes final and
5 |; unappealable. Accordingly, the Class 2B Allowed claims are unimpaired under the PLAN.
6 4. CLASS 2C CLAIMS [DISPUTED UNSECURED CLAIMS AGAINST
7 ||SILVER STATE AND GOLDEN STATE]: The Class 2C Disputed Unsecured Claims,
8 || estimated in the total amount of $0.00 shall be resolved through the formal claim objection
9 || process or by agreement of the parties. Any allowed claims that result shall be paid in full equally
10 || by Silver State and Golden State on the later of the Effective Date, or within five business days
11 || after any order allowing the claims becomes final and unappealable. Accordingly, the Class 2C
12 {| Allowed claims are unimpaired under the PLAN.
13 5. CLASS 3 EQUITY INTERESTS OF DEBTOR: The equity interests of the
14 || shareholders of the Debtors existing on the Petition Date shall remain unchanged. Accordingly,
15 || the Class 3 equity interests of the Debtors are unimpaired under the Plan.
16 X. BAR DATE FOR FILING CLAIM
17 The bar date for filing a proof of claim in this case was February 16, 2022, for all creditors
18 {| (except a governmental unit). The bar date for objecting to claims will be sixty (60) days after
19 || the date on which the PLAN is confirmed by the Court. All unsecured claims which are listed as
20 || disputed in the PLAN or who believe that the amounts listed in the PLAN are incorrect, shall file
21 || proofs of claim in this case by the bar date set forth above. Failure to file a proof of claim by a
22 || disputed claimant or a claimant who disagrees with the amount listed in the PLAN within such
23 |} time period will result in the amount listed in the PLAN being established as the amount owing
24 || to such creditor, and such creditor will participate in the PLAN, based upon its claim listed in the
25 || PLAN.
26 XI. MEANS FOR EXECUTION AND IMPLEMENTATION OF THE PLAN
27 lL, Funding of Proposed Plan Payments
28 The Debtors shall fund the proposed Plan payments through ongoing Radio Station Group
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1 ||revenues, proceeds of the sale of Golden State’s KREV FM license and related radio station
2 || assets, or funds provided by Edward Stolz from his personal assets. If claims are paid from the
3 || sale of Golden State’s KREV FM, then Golden State will advance intercompany unsecured loans
4 ||to the other Debtors so they can pay their allowed claims under the Plan. Alternatively, Golden
5 || State will make a distribution to its parent, Royce International Broadcasting, which in turn will
6 || make capital contributions to the other Debtors to fund their Plan payments. Debtors will consult
7 || with their tax accountant to determine which method is most appropriate for accounting purposes.
g || But because Golden State is solvent, its creditors are not prejudiced by distribution of excess
9 || proceeds to fund the other Debtors’ Plan payments.
10 Despite the Receiver’s actions in dismantling the Debtors’ operations, the Debtors have
1] || returned two of the Radio Stations back to the airwaves, with the third one to resume operations
12 || momentarily. The relaunch of operations has required the Debtors to resolve lease and utilities
13 || obligations that accrued under the Receiver but were not paid by Receiver; acquisition of new
14 || broadcast equipment to replace that which was dissipated, vandalized, or damaged under the
15 || Receiver’s stewardship; and development of a fully featured program service, computer servers,
16 || and remote access technologies and related infrastructure. KRCK Palm Springs was restored to
17 |[ air and has been broadcasting since February 22, 2022. KFRH/ Las Vegas was restored to air and
1g || has been broadcasting since April 20, 2022. KREV/ San Francisco has been re-tooled, re-
19 || equipped and Golden State anticipates restoration of 24-hour broadcasting on or about May 7,
9 || 2022.
1 The Radio Stations are now (or in the case of KREV, soon will be) programming with
09 desirable formats, intended to attract affluent and diverse audiences and broad acceptance by the
3 commercial advertising and media communities. These formats are close to those built over time
4 by Debtor’s Radio Stations prior to Receiver's decimation of those formats by supplanting that
5 programming with VCY’s 24-hour religious solicitations. Debtors’ stations are now
6 programming News/Talk and Popular Hit music, with broad acceptance and appeal. With the
77 first appearance of critical rating data, Debtors will recruit advertising salespeople to market the
28 stations to the advertising community. Currently, the firm of Broadcast Investment Analysts
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1 || identifies annual radio market advertising expenditures of approximately $214,000,000 per year
2 || in San Francisco, $146,000,000 in Las Vegas and $11,000,000 in Palm Springs.
3 Because the Radio Stations were in the Receiver’s control during the prepetition period
4 |lafter July 20, 2020, and through the Petition Date, the Debtors do not have any financial
5 || statements to show recent historical Radio Station revenues. However, the Debtors have prepared
6 || projected operating budgets for the Radio Station Group, which are attached hereto as Exhibit A.
7 || The Debtors estimate they will have sufficient revenues to cover their operating expenses, but
g ||that may not be the case because they must re-establish their regular operations, ratings, and
9 || advertising revenues after the Receiver dismantled everything. Thus, Edward Stolz will provide
10 ||interim financing, as needed, in the ordinary course of business as unsecured administrative
1] || expenses under 11 U.S.C. § 364(a) to cover any shortfalls.
12 In order to effectuate the sale of KREV FM, Golden State has retained the services of a
13 ||nationally prominent broadcast media broker, Robert W. Mahlman (“Mahlman”). Golden State
14 || and Mahlman have entered into an Exclusive Station Brokerage and Marketing Agreement for an
15 || irrevocable period of ninety days, with the option of three additional 90-day renewal periods. The
16 || brokerage agreement provides for a sales commission of 5% of the first three million in purchase
17 || Price, plus 2% of the remaining purchase price, or under an LMA, 5% of any monthly or quarterly
1g || LMA fee, which will be applied to reduction of the brokerage fee. Golden State will file its
19 || application with the Court to employ Mahlman under 11 U.S.C. § 327(a).
20 While KREV is licensed to the community of Alameda, California, its transmitting
31 || facilities are located in San Francisco, which is the nation's number four radio market by size and
22 || Tevenue. From its antenna location on the “Candlestick” tower, KREV reaches millions of
3 listeners both on the Peninsula and across San Francisco Bay in Oakland, Berkeley, and other
04 East Bay communities. KREV is expected to command a price commensurate with the market's
5 three most recent (pre-Pandemic) radio broadcast transactions, namely, $25,000,000,
26 $100,000,000, and $143,000,000, respectively. The market is dominated by large station group
97 |; Owners, and very few independently owned radio stations remain in the same market other than
28 KREV. This causes KREV to be qualified as the only non-consolidated entity available for sale
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1 || in the Nielsen rated number 4 market.

Alternatively, Golden State is also seeking to enter into an agreement with Mahlman by
which to offer a Local Marketing Agreement (“LMA”) for the sale of 24-hour programming time
over KREV/ San Francisco. It is Golden State’s understanding that various San Francisco FM

stations have offered to make their airtime available under LMA arrangements for between

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6 ||$200,000 and $300,000 per month, per station, as was reportedly the case in 2019 with stations
7 ||KOIT and KMVQ. Additionally, Golden State also intends to enter into an agreement with
8 || MahIman by which to offer KREV’s HD (high-definition digital) subchannel for lease. Currently,
9 || San Francisco FM HD subchannels generally lease for between $10,000 and $20,000 per month.
10 2. Post-Confirmation Default

11 In the event the Debtors become delinquent in duty or obligation under the Plan, the
12 || affected creditor or creditors may provide written notice of such default to the Debtors and their
13 || counsel. The Debtors shall thereafter have fifteen (15) business days from receipt of said notice
14 ||in which to cure the default. In the event such default remains uncured, the affected creditor or
15 || creditors shall be entitled to foreclose upon any collateral (if a secured creditor) or take other
16 ||appropriate action. The Debtors shall have the right to bring the issue of default before the
17 || Bankruptcy Court. At any hearing, the Bankruptcy Court may consider the reason for the default
18 || and the ability of the Debtors to cure the default in a reasonable period of time. The Bankruptcy
19 || Court may also consider conversion of the case to a Chapter 7 of the Bankruptcy Code or dismissal
20 || of the same is in the best interest of creditors.

21 3. Professionals’ Fees

22 After the Confirmation Date of the Plan, the Debtors and any other professional, such as
93 || Debtors’ general bankruptcy counsel, any special purpose counsel or accountants, will not be
24 ||required to apply to the Court for compensation for services rendered post-confirmation. Post-
25 || confirmation compensation of the Debtors’ professionals shall be at their normal hourly rate(s)
26 || and customary cost charges.

27 4, Distribution

28 All cash proceeds shall be distributed in the foregoing manner except amounts necessary

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to pay disputed claims against the Debtors in the event they are allowed, which shall be held as a

 

 

 

 

2 ||reserve and paid as such claims are determined by agreement between the parties or as are

3 || judicially determined.

4 5. Taxes

5 Unless otherwise provided in the Plan, all taxes are paid current and there are no tax liens

6 || on real or personal property owned by the Debtors.

7 XII. PROVISIONS GOVERNING DISTRIBUTION AND DISCHARGE

8 1. THE DISBURSING AGENT.

9 The Debtors are ultimately responsible for making all distributions pursuant to the Plan.
10 || To assist it in discharging those responsibilities, Debtors shall use their Debtor-in-Possession
11 || bank accounts for all funds which are to be distributed to creditors under this Plan.

12 2. UNCLAIMED DISTRIBUTIONS.

13 Any property to be distributed pursuant to the Plan, if not claimed by the distributee within
14 || one (1) year after the payment, shall be returned to the Debtors.

15 3. EFFECT OF CONFIRMATION.

16 Upon confirmation and performance of the Plan, the Debtors shall be discharged from any
17 || debt that arose before the date of Confirmation, and any debt of a kind specified in §§ 502(g),
18 |{502(h), or 502(1) of the Bankruptcy Code, to the full extent permitted by Bankruptcy Code
19 ||§ 1141(d). In addition, pending execution of the Plan, and unless the Court has otherwise
20 || expressly ordered or the Plan otherwise expressly provides, all creditors and parties in interest
21 || shall be stayed from proceeding against the Debtors’ assets including stay of default proceedings.
22 4. EXCULPATION.

23 Neither the Unsecured Creditors' Committee, if any, nor Debtors nor any of their
24 || respective members, officers, directors, employees, representatives, professionals or agents, will
25 || have or incur any liability to any Creditor for any act or omission in connection with or arising
26 || out of the Reorganization Case, including, without limitation, prosecuting confirmation of this
77 || Plan, consummation of this Plan, or the administration of this Plan or the property to be distributed

9g || under this Plan, except for breach of fiduciary duty, gross negligence, willful misconduct or fraud.

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I XI. POST-CONFIRMATION INJUNCTION
2 No entity may commence, continue or assert any claim, counterclaim, crossclaim,
3 || affirmative defense, defense, set off, recoupment, or any action of any kind or nature (collectively
4 || ‘Potential Actions”) against Debtors. Confirmation of the Plan shall constitute a permanent
5 || injunction against and irrevocable release of any and all Potential Actions. Confirmation of the
6 || PLAN shall constitute a permanent injunction against and irrevocable release of any and all
7 || Potential Actions.
8 XIV. EXECUTORY CONTRACTS AND LEASES
9 Reservation of Rights. The Debtors reserve the right to assume or reject, pursuant to §365
10 || of the Code, any executory contract or unexpired lease not assumed or rejected prior to the
11 || Confirmation Date. All executory contracts and unexpired leases not specifically assumed or
12 || rejected as of the Confirmation Date or as to which an application to reject shall not be pending
13 ||on the Confirmation Date shall be deemed rejected by the Debtors. Debtors hereby assume or
14 || rejects their leases and executory contracts as follows:
15 VCY entered into a pre-petition Local Marketing Agreement (“LMA”) with the Receiver
16 |jto manage the Debtors’ Radio Stations. The Receiver also entered into an asset purchase
17 |;agreement with VCY for the sale of the Radio Stations. The Receiver was not appointed as
1g || feceiver over the Debtor LLC entities, only the Radio Stations themselves. Thus, Debtors contend
19 |{that the Receiver was not their agent, and they are not liable under the LMA or purchase
29 || agreement. What is more, VCY unilaterally abandoned its obligations under the LMA on or about
91 || February 1, 2022. Nonetheless, out of an abundance of caution, the Debtors hereby reject any
92 || agreements that the Receiver entered into with VCY, as well as rejecting any other executory
93 || contracts or leases entered into by the Receiver which may be unknown to the Debtors.
4 XV. MISCELLANEOUS PROVISIONS
5 Notice. Any notice described in or required by the terms of this PLAN or the Code and
6 Rules shall be deemed to have been properly given when actually received or if mailed, five days
77 after the date of mailing, if such shall have been sent by certified mail, return receipt requested,
28 and if sent to:
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1 The Debtors, addressed to:

STEPHEN R. HARRIS, ESQ.
HARRIS LAW PRACTICE LLC
6151 Lakeside Drive, Suite 2100
Reno, NV 89511

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3
‘ Headings. the headings used herein are inserted for convenience only and neither
° constitute a portion of the PLAN nor in any manner affect the construction of the provisions of
6 the PLAN.

’ Severability. Should any provision of this Plan be determined to be unenforceable
8 following the Effective date, such determination shall in no way limit or affect the enforceability
9

of any and all other provisions of this Plan.

 

 

‘0 Governing Law. Except to the extent that the Code or other applicable federal law is
I applicable, the rights, duties and obligations arising under this Plan shall be governed by and
12 construed in accordance with the laws of the State of Nevada.

3 Successors and Assigns. The rights, duties and obligations of any Person named or
M4 referred to in this Plan shall be binding upon and shall inure to the benefit of the successors and
9 assigns of such person.

16 Designation of Managers. Edward Stolz and Debby Naiman shall continue to serve as the
iM Co-Managers of the Debtors and shall be initially compensated with a gross salary of $0 from the
18 Debtors, although they may be paid a salary by the Debtors’ parent company, Royce International
19 Broadcasting, Inc.

20 XVI. PROCEDURES FOR RESOLVING CONTESTED CLAIMS

a1 Claims Objections. Objections to Claims shall be filed with the Court and served upon
22 each holder of a Claim to which objection is made no later than sixty (60) days after the
23 Confirmation Date.

24 Payment Procedures. Payments to the holder of a Claim to which objection has been made
25 that ultimately becomes an Allowed Claim shall be made in accordance with the provision of the
26 PLAN with respect to the Class of Creditors to which the holder of such an Allowed Claim
27 belongs. However, interest, if any, on any funds reserved for a contested claim shall inure to the
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benefit of the holder of such an Allowed Claim.

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1 Avoidance Actions. To the extent appropriate, the Debtors shall have the right to bring
2 || any and all avoidance actions, the same to be commenced with 90 days of the Confirmation date.
3 || Proceeds of all avoidance actions shall vest in the Debtor pursuant to 11 U.S.C. $1141.
4 XVII. CONFIRMATION REQUEST
5 The Debtors request that the PLAN be confirmed in accordance with the provisions of
6 |) §1129(a) and/or §1129(b) of the Code.
7 XVIII. RETENTION OF JURISDICTION
8 Notwithstanding confirmation of this PLAN, the Court will retain jurisdiction for the
9 || following purposes, and each of them:
10 l. The Court will retain jurisdiction to determine the allowability and payment of any
11 || claim(s) upon any objection(s) thereto (or other appropriate proceedings) by the Debtors or by
12 || any other party in interest entitled to proceed in that manner. As part of such retained jurisdiction,
13 || the Court will continue to determine the allowability of Administrative Claims and any request(s)
14 || for payment(s) thereof, including professional fees and costs which are Administrative Claims.
15 2. The Court will retain jurisdiction to determine any dispute(s) which may arise
16 || regarding the interpretation of any provision(s) of this PLAN.
17 3. The Court will retain jurisdiction to facilitate the consummation of this PLAN by
18 ||entering, consistent with the provisions of this PLAN, any further necessary or appropriate
19 || order(s) regarding the enforcement of this PLAN and any provision(s) thereof.
20 4. The Court will retain jurisdiction to adjudicate any cause(s) of action or other
2] ||proceeding(s) presently pending or otherwise referenced here or elsewhere in this PLAN,
22 || including, but not limited to, the adjudication of any and all "core proceedings" under 28 U.S.C.
93 || § 157(b), which may be pertinent to this Reorganization Case, and which the Debtors may deem
24 || it appropriate to initiate and prosecute in aid of its reorganization.
25 5. The Court will retain jurisdiction to enter an appropriate final decree in this
26 || Reorganization Case.
27 6. The Court will retain jurisdiction to enter an appropriate final decree, and any

9g ||interim order(s), in any adversary proceedings which may be initiated during this Chapter 11

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1 || proceeding.
2 XIX. FEASIBILITY OF DEBTORS’ PLAN
3 Debtors believe that the PLAN is feasible based on the desirable location of the Debtors’
4 || FCC broadcasting licenses and the millions of people reached by their signals. It will take some
5 || time for the Debtors to return their Radio Station operations and revenues to the levels they were
6 || before the Receiver dismantled the operations. However, they have already succeeded in putting
7 || all but one of the Radio Stations back on the air. This last of the Radio Stations will return to the
g ||air very shortly. Once their regular programming is rated by listeners, the Debtors will be in a
9 || position to sell advertising to generate revenues. Additionally, the liquidation value of Golden
10 || State’s KREV FM station is estimated at more than $15,000,000, which is significantly more than
1] || the amount required to pay all allowed creditors’ claims.
12 XX. LIQUIDATION ANALYSIS
13 Debtors are proposing a PLAN based partially on business revenues and on a partial
14 || liquidation of assets, specifically, KREV FM.
15 The PLAN must provide that a nonconsenting impaired claimant or interest holder of a
16 || consenting class receive at least as much as would be available had the debtor filed a Chapter 7
17 || petition instead.
18 In a Chapter 7 case, the general rule is that the Debtors’ assets are sold by a trustee.
19 || Unsecured creditors share in the proceeds of sale only after secured creditors and administrative
29 || claimants are paid. Certain unsecured creditors get paid before other unsecured creditors do.
21 || Unsecured creditors with the same priority share in proportion to the amount of their allowed
97 || claim in relationship to the total amount of allowed claims. A creditor would recover from the
73 || assets of the bankruptcy estate less under Chapter 7 than under Chapter 11 for two reasons. First,
74 || the Debtors’ Plan proposes to pay all allowed unsecured creditors in full, which is not guaranteed
45 ||in a Chapter 7 case. Second, in a Chapter 7 case a trustee is appointed and is entitled to
46 ||compensation from the bankruptcy estate in an amount no more than 25% of the first $5,000 of
97 || all money disbursed, 10% on any amount over $5,000 but less than $1,000,000, 5% on all amounts

9g || Over $1,000,000 but less than $3,000,000, and reasonable compensation not to exceed 3% on any

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amount over $3,000,000, thus diminishing monies available for payment to unsecured creditors.
In a Chapter 7 case, the general rule is that the Debtors’ assets are sold by a trustee. Unsecured
creditors share in the proceeds of sale only after secured creditors and administrative claimants
are paid. Certain unsecured creditors get paid before other unsecured creditors do. Unsecured
creditors with the same priority share in proportion to the amount of their allowed claim in
relationship to the total amount of allowed claims.

Respectfully submitted this 2"! day of May 2022.

STEPHEN R. HARRIS, ESQ.
HARRIS LAW PRACTICE LLC

/s Stephen R. Harris

 

Attorney for Jointly Administered Debtors

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EXHIBIT A

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SG&A OPERATING EXPENSES

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KFRH

3R°, a" Q 2022 2023 2024
BLDGS / LEASES 14,400 28,800 28,800
UTILITIES 1,080 2,160 2,160
SALARIES 22,800 40,600 53,800
PYRL TAX 1,824 3,648 4,704
EQUIP / TOOLS 2,000 4,000 4,000
INSUR 2,000 4,000 4,000
LICENSES 2,040 8,160 12,240
MAINT 1,000 2,000 2,000
MKTG 1,000 2,000 2,000
OFC EXP / SUPPLIES 500 1,000 1,000
TVL / ENT 500 1,000 1,000
PROJECTED MONTHLY OPEX 4,095 8,114 9,642
PROJECTED MONTHLY GRS 95,000 104,500 120,175
BIA/KELSEY PROJECTED NATIONAL/LOCAL RADIO REVENUE, LAS VEGAS NV

85,000,000 90,100,000 95,506,000

 
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SG&A OPERATING EXPENSES

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

KRCK

3R°, 4™ Q 2022 2023 2024
BLDGS / LEASES 23,466 46,932 46,932
UTILITIES 4,200 8,400 8,400
SALARIES 0 18,000 18,000
PYRL TAX 0 350 350
EQUIP / TOOLS 2,000 2,000 2,000
INSUR 1,000 3,500 3,500
LICENSES 500 3,800 4,100
MAINT 1,000 1,000 1,000
MKTG 1,000 2,000 2,000
OFC EXP / SUPPLIES 500 200 200
TVL / ENT 500 500 500
PROJECTED MONTHLY OPEX 5,694 7,223 7,249
PROJECTED MONTHLY GRS 40,000 47,250 50,000

BIA/KELSEY PROJECTED NATIONAL/LOCAL RADIO REVENUE, PALM SPRINGS, CA

11,000,000 11,550,000 12,127,500

 
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SG&A OPERATING EXPENSES

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KREV

3R°, 4" Q 2022 2023 2024
BLDGS / LEASES 36,000 72,000 72,000
UTILITIES 7,040 15,550 15,550
SALARIES 0 18,000 18,000
PYRL TAX 0 350 350
EQUIP / TOOLS 2,000 2,000 2,000
INSUR 1,000 3,500 3,500
LICENSES 500 3,800 4,100
MAINT 1,000 1,000 1,000
MKTG 1,000 2,000 2,000
OFC EXP / SUPPLIES 500 200 200
TVL / ENT 500 500 500
PROJECTED MONTHLY OPEX 8,257 9,908 9,817
PROJECTED MONTHLY GRS 100,000 224,000 246,400
BIA/KELSEY PROJECTED NATIONAL/LOCAL RADIO REVENUE, SAN FRANCISCO, CA:

204,400,000 214,500,000 223.900,000

 
